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                                                                                     06/13/25   Page 1 of 8



                   Ronald Seely                                                                   DETAINED
                   Chief Counsel
                   Kendell Johnson
                   Assistant Chief Counsel
                   U.S. Immigration and Customs Enforcement
                   U.S. Department of Homeland Security
                   150 Apollo Drive
                   Chelmsford, MA 01824

                                          UNITED STATES DEPARTMENT OF JUSTICE
                                        EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                                            CHELMSFORD IMMIGRATION COURT
                                              CHELMSFORD, MASSACHUSETTS



                    In the Matter of:

                    OLIVEIRA GOMES, Cleberson                          File Nos.    A 226040357

                    In Removal Proceedings




                    Immigration Judge: Hon. Donald Ostrom              Next Hearing Date: June 12, 2025
EOIR — 1 of 8




                                         DEPARTMENT OF HOMELAND SECURITY’S
                                   NOTICE OF THE RESPONDENT’S INELIGIBILTY FOR BOND
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                                                                                     06/13/25      Page 2 of 8



                          Now Comes the Department of Homeland Security and asserts the Respondent is not eligible for

                   bond pursuant to Matter of Q. Li, 29 I&N Dec. 66 (BIA 2025). “An applicant for admission who is

                   arrested and detained without a warrant while arriving in the United States, whether or not at a port of

                   entry, and subsequently placed in removal proceedings is detained under 235(b) of the Immigration and

                   Nationality Act (“INA”), and is ineligible for any subsequent release on bond under section 236(a) of

                   the INA.” (Internal citations omitted). Attached, please see Respondent’s Form I-213s issued on May

                   13, 2024 and May 30, 2025.

                          Respectfully submitted this 11th day of June, 2025.


                                                                       KENDELL J                   Digitally signed by KENDELL J
                                                                                                   JOHNSON

                                                                       JOHNSON                     Date: 2025.06.11 11:42:27
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                                                                        Kendell Johnson
                                                                        Assistant Chief Counsel
                                                                        U.S. Customs and Immigration Enforcement
                                                                        U.S. Department of Homeland Security
EOIR — 2 of 8
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                                                                                     06/13/25         Page 3 of 8




                                                    CERTIFICATE OF SERVICE

                         On June 11, 2025, I, Kendell Johnson, Assistant Chief Counsel, served a copy of this U.S.
                   Department of Homeland Security’s Submission on Respondent:

                                 by first-class mail, postage pre-paid, to [address of party served].

                                 by first-class mail, postage pre-paid by placing into my office’s receptacle
                                 designated for official “out-going” first class mail to:

                                 by personally delivering a true copy thereof to the person set forth above.

                                 by electronic service, to the following e-mail address:

                                 by eService pursuant to the Terms and Conditions agreed to between the parties.

                                 through the EOIR Courts and Appeals System (ECAS), which will automatically
                                 send service notifications to both parties that a new document has been filed.

                                 by personal delivery by Enforcement and Removal Operations in Detention.




                                           KENDELL J                      Digitally signed by KENDELL J
                                                                          JOHNSON
                                           JOHNSON                        Date: 2025.06.11 11:43:22 -04'00'
                                              ___________________________________
                                                         Kendell Johnson
                                                      Assistant Chief Counsel
EOIR — 3 of 8
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                                                                                   Encounter  06/13/25
                                                                                             Summary                                                           Page 7 of 8
                EARM

                                                                                                                                                                  Logged In:                           |
                  Person ID: 19563995 Sex: M DOB: 09/14/1989 Current Age: 35 COB: BRAZI COC: BRAZI

                  Subject ID : 393830222 Processing Disposition: Notice to Appear Released (I-862) ICE Non-Detained Portal Verified Account: No RCA Look-Up

                  Case # : 23857518 Case Category: [8B] Docket: BOS - .Detained Pre Order 250-499
                 Final Order of Removal: No                    Time in Custody: 13 days                     Special Class:
                 Final Order Date: N/A                         Depart / Cleared Status: ACTIVE
                 Proceed With Removal: N/A
                 Days Final Order in Effect: N/A                                                                                                               Current / Active Alerts
                                                                                                                                                                  In Custody              eFile G-28


                                                                                                                                                                                           Z-Hold




                    Oliveira Gomes, Cleberson 226 040 357

                  Encounter Details
                   3 Encounter(s) linked to Person ID: 19563995
                          Ref# Subject ID A-Number Last Name                          First Name COC Historical Priority DOB                          Encountered on Case           Case Category
                         3        398779469        226040357    OLIVEIRA GOMES CLEBERSON BRAZI No Priority                              09/14/1989 05/29/2025               23857518 8B

                         2        398779359        226040357    OLIVEIRA GOMES CLEBERSON BRAZI No Priority                              09/14/1989 05/29/2025               23857518 8B

                         1        393830222        226040357    OLIVEIRA GOMES CLEBERSON BRAZI No Priority                              09/14/1989 05/12/2024               23857518 8B




                    Encounter Details
                All information below may only be edited in EAGLE

                         Event / Incident Information

                       Event Number: BLV2405000108                                   Operation: N/A                                                Primary Agent: N/A
                       Event Occurred On: 05/12/2024                                 Site: N/A                                                     Assigned On:
                       Event Type: Administrative Non-Criminal Individual            Landmark: N/A                                                 Event Supervisor: N/A
                       Program: BP - Border Patrol                                                                                                 Assigned On:




                         Subject Information

                       FINS: 1361039029                                              Historical Priority: No Priority                              Role: I
                       DNA Collection Device Number: F3760741                        Criminal Type: N/A                                            Role Comment: N/A
                       A-Number: 226 040 357                                         Agg Felon: No Aggravated Felony Convictions                   Processing Disposition: Notice to Appear Released
                       Control Name: OLIVEIRA GOMES                                  Primary Citizenship: BRAZIL                                   (I-862)

                       First Name: CLEBERSON                                         Stateless Type: N/A                                           INS Status: Inadmissible Alien

                       Middle Name: N/A                                              Hair: BLK                                                     POE: CALEXICO, CA

                       Maiden: N/A                                                   Eyes: BRO                                                     Entry Date: 05/12/2024

                       Nickname: N/A                                                 Complexion: BLK                                               Entry Class: PWA Mexico

                       Living?: N/A                                                  Race: B                                                       Apprehension Date: 2024-05-12 18:41:25.0
                                                                                                                                                   Warrant served by Warrant Service Officer (WSO)?
EOIR — 7 of 8




                       Sex: M                                                        Origin: N/A
                                                                                                                                                   N/A
                       Marital Status: Single                                        Date of Birth: 09/14/1989
                                                                                                                                                   Arrest Method: Patrol Border
                       SSN: N/A                                                      Age: 35
                                                                                                                                                   Site: BLV
                       Juvenile Verified: N/A                                        Age at Encounter: 34
                                                                                                                                                   Landmark: 32 D - S OF I-8, E OF CARRIZO GORGE
                       Occupation: LABORER                                           Height: 72
                                                                                                                                                   RD/DOCS, W OF IKP INT, S TO CNTY LINE
                       TSC Log #: N/A                                                Weight: 143
                                                                                                                                                   Arrest At/Near: CALEXICO, CA

                                                                                                                                                                                                       1/2
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                                Case 1:25-cv-11571-JEK          DocumentTime)
                                                                         EARM Base
                                                                             13-5
                                                                              View   City:
                                                                                      FiledCHE
                                                                                   Encounter  06/13/25
                                                                                             Summary                                      Page 8 of 8
                     NUIN #: N/A                                          Speak/Understand English: N/A                        Juvenile Status: N/A
                     SEN #: N/A                                           Read/Write English: N/A                              CBP Family Unit ID: N/A
                     TECS Subject #: N/A                                  Primary Language: SPANISH                            CBP Separation Reason: N/A
                     U.S. Veteran Status: N/A                             Family Members: N/A                                  Accompanying Family Member Relation: N/A
                     Relationship to U.S. Veteran(s): N/A                                                                      Accompanying Family Member Subject ID: N/A
                                                                                                                               Consequence Delivery System Selection: FIRA
                                                                                                                               ICE Family ID: N/A




                        I-213 Narrative
                         Narrative 1 : Created Date: 05/13/2024 07:20 PM

                       IMMIGRATION HISTORY: No Prior immigration history.

                 CRIMINAL HISTORY: No prior criminal history.

                 ENCOUNTER:
                 A Border Patrol agent encountered this subject in the San Diego Border Patrol Sector's area of responsibility (AOR). It was determined
                 that this subject had unlawfully entered the United States from Mexico, at a time and place other than as designated by the Secretary
                 of the Department of Homeland Security of the United States.

                 After determining that this subject illegally entered the United States, the subject was arrested and transported to a nearby Border
                 Patrol facility for processing using the E3/IDENT and IAFIS Systems.

                 IMMIGRATION/CRIMINAL VIOLATION:
                 The subject claims to be a citizen and national of Brazil without the necessary legal documents to enter, pass through, or to remain in
                 the United States. The subject also admitted to illegally crossing the international boundary without being inspected by an immigration
                 officer at a designated Port of Entry.

                 The subject stated that both parents are citizens of Brazil and no other country.

                 CONSULAR NOTIFICATION:
                 The subject was notified of their right to communicate with a Consular Officer from their country as per Article 36 (1) (b) of the Vienna
                 convention on Consular Relations. The subject indicated they understood this right but declined to speak with anyone at this time.

                 DISPOSITION:
                 The subject provided a valid / verified U.S. address and phone number.

                 The subject is being processed as NTA/OR due to lack of bed space.
                 The subject was served with DHS forms I-220A, I-862, I-286, and given a copy of agency form G-56, a list of free legal services, and
                 the "Notice to Appear Tear Sheet."


                 The subject was informed, per agency for I-220A, that they must report for any hearing or interview as directed by the Department of
                 Homeland Security or the Executive Office for Immigration Review and / or surrender for removal from the United States if so ordered.

                 The subject was given a copy of form EOIR-33 and instructed that if their address and/or telephone number changes while awaiting or
                 going through immigration proceedings, they are to file this form with the Department of Homeland Security within five (5) working days
                 of that change.

                 The subject does not appear to be a threat to national security, border security, or public safety. The subject was released from the
                 custody of the Department of Homeland Security (DHS) by "Order of Recognizance" (O.R.) pending their immigration hearing. This
                 release was authorized through proper channels in accordance with San Diego Sector protocols.

                 The processing of this NTA/OR was conducted virtually by Border Patrol Agent Eddie Reed at the Murrieta Border Patrol Station. The
                 subject and witness Border Patrol Agents were present at the San Diego Area Detention/ Transit Staging Area in San Diego, California.
EOIR — 8 of 8




                United States Department of Homeland Security (DHS), U.S. Immigration and Customs Enforcement (ICE), Enforcement and Removal Operations (ERO) | Release EARM 7.76




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